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12    JUSTIN BIEBER; DANIEL SMYERS A/K/A DAN SMYERS; SHAY MOONEY;
      JESSIE JO DILLON; JORDAN REYNOLDS; WARNER MUSIC NASHVILLE LLC;
13    W CHAPPELL MUSIC CORP.;WARNER MUSIC GROUP CORP.; WARNER-
      TAMERLANE PUBLISHING CORP.; UNIVERSAL MUSIC CORP.; BIG
14    MACHINE MUSIC, LLC; SHAY MOONEY MUSIC; BIG ASS PILE OF DIMES
      MUSIC; BIEBERTIME PUBLISHING, LLC; JREYNMUSIC (INCORRECTLY
15    NAMED AS JREYN PRODUCTIONS LLC DBA JREYNMUSIC); AND BEATS
      AND BANJOS
16
                           UNITED STATES DISTRICT COURT
17                        CENTRAL DISTRICT OF CALIFORNIA
18                            )               Case No.: 2:22-cv-2650
      INTERNATIONAL           )
19                            )
      MANUFACTURING CONCEPTS, )               CORPORATE DISCLOSURE
20    INC.,                   )               STATEMENT AND NOTICE OF
                              )               INTERESTED PARTIES
21                            )
      Plaintiff,              )
22                            )               Judge: Hon. R. Gary Klausner
             v.               )               Complaint filed: April 21, 2022
23                            )
                              )               Trial Date: None set
24    JUSTIN BIEBER et al.,   )
                              )
25                            )
      Defendants.             )
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  1                      CORPORATE DISCLOSURE STATEMENT
                         AND NOTICE OF INTERESTED PARTIES
  2
  3          Pursuant to Federal Rule of Civil Procedure 7.1, Defendants Warner Music
  4   Nashville LLC; W Chappell Music Corp.; Warner Music Group Corp.; Warner-
  5   Tamerlane Publishing Corp.; Universal Music Corp. (sued as Universal Music
  6   Corporation); Big Machine Music, LLC; and Biebertime Publishing, LLC hereby submit
  7   this corporate disclosure statement and state as follows:
  8   Warner Music Nashville LLC; W Chappell Music Corp.; Warner Music Group Corp.;
      and Warner-Tamerlane Publishing Corp.:
  9
10           Defendants Warner Music Nashville LLC; W Chappell Music Corp. and Warner-
11    Tamerlane Publishing Corp. are wholly-owned, indirect subsidiaries of Defendant
12    Warner Music Group Corp., which is a publicly-traded company with more than ten
13    percent (10%) of its stock owned by AI Entertainment Holdings LLC and certain of its
14    affiliates, which are not publicly traded companies.
15    Universal Music Corp.:
16           Defendant Universal Music Corp.’s ultimate parent is Universal Music Group,
17    N.V., a Netherlands public limited company. No other publicly-held corporation owns
18    10% or more of Universal Music Corp.’s stock.
19    Big Machine Music, LLC:
20           Defendant Big Machine Music, LLC’s ultimate parent is Hybe Co., Ltd., a South
21    Korean public limited company. No other publicly-held corporation owns 10% or more
22    of Big Machine Music, LLC.
23    Biebertime Publishing, LLC:
24           Defendant Biebertime Publishing, LLC is wholly-owned by Labore Et
25    Perseverantia LLC. No public company owns 10% or more of Biebertime Publishing,
26    LLC.
27
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  1         The undersigned, counsel of record for Defendants Justin Bieber; Daniel Smyers
  2   a/k/a Dan Smyers; Shay Mooney; Jessie Jo Dillon; Jordan Reynolds; Warner Music
  3   Nashville LLC; W Chappell Music Corp.; Warner Music Group Corp.; Warner-
  4   Tamerlane Publishing Corp.; Universal Music Corp.; Big Machine Music, LLC; Shay
  5   Mooney Music; Big Ass Pile of Dimes Music; Biebertime Publishing, LLC; Jreynmusic
  6   (incorrectly named as JREYN PRODUCTIONS LLC dba JREYNMUSIC); and Beats
  7   and Banjos, pursuant to Local Rule 7.1-1, certifies that the following listed party or
  8   parties may have a pecuniary interests in the outcome of this case. These representations
  9   are made to enable the Court to evaluate possible disqualification or recusal.
10    PARTY                                           CONNECTION/INTEREST
11        1. Justin Bieber                               1. Named defendant
12        2. Daniel Smyers a/k/a Dan Smyers              2. Named defendant
13        3. Shay Mooney                                 3. Named defendant
14        4. Jessie Jo Dillon                            4. Named defendant
15        5. Jordan Reynolds                             5. Named defendant
16        6. Warner Music Nashville LLC                  6. Named defendant
17        7. W Chappell Music Corp.                      7. Named defendant
18        8. Warner Music Group Corp.                    8. Named defendant
19        9. Warner-Tamerlane Publishing Corp.           9. Named defendant
20        10.Universal Music Corp.                       10.Named defendant
21        11.Big Machine Music, LLC                      11.Named defendant
22        12.Shay Mooney Music                           12.Named defendant
23        13.Big Ass Pile of Dimes Music                 13.Named defendant
24        14.Biebertime Publishing, LLC                  14.Named defendant
25        15.Jreynmusic                                  15.Named defendant
26        16.Beats and Banjos                            16.Named defendant
27        17.Jason Boyd                                  17.Named defendant
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  1      18.BMG Rights Management (US) LLC          18.Named defendant
  2      19.Poo BZ Inc.                             19.Named defendant
  3      20.Buckeye26                               20.Named defendant
  4      21.Mojo Cayman, L.P.                       21.Interest in allegedly infringing
  5                                                     song
  6      22.Songs of Mojo, LLC                      22.Administrator of Mojo Cayman,
  7                                                     L.P.’s interest in allegedly
  8                                                     infringing song
  9
10
11    Dated:    August 25, 2022        Respectfully submitted,
12                                     PRYOR CASHMAN LLP
13                                     By:       /s/ Benjamin S. Akley
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